        Case 5:17-cv-03690-RAL Document 20 Filed 03/20/18 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JULABO USA, INC.                                   CIVIL ACTION
              Plaintiff,

       v.                                          17-cv-03690-RAL

GENIUS EXTRACTION
TECHNOLOGIES, INC.
              Defendant.

                                         ORDER

              AND NOW, TO WIT: this 20th day of March, 2018, it having been

reported that the issues between the parties in the above action have been settled and
upon Order of the Court pursuant to the provisions of Rule 4i.1(b) of the Local Rules of
Civil Procedure of this Court (effective January 1, 1970), it is
              ORDERED that the above action is DISMISSED with prejudice,

pursuant to agreement of counsel.


                                               BY THE COURT:




                                               RICHARD A. LLORET
                                               UNITED STATES MAGISTRATE JUDGE
